        Case: 3:08-cr-00123-bbc Document #: 93 Filed: 09/06/11 Page 1 of 4




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF WISCONSIN

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

UNITED STATES OF AMERICA,

                             Plaintiff,                                  ORDER

              v.                                                    08-cr-123-bbc-02

RANDY RUTH,

                             Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

       A hearing on the probation office's petition for judicial review of Randy Ruth's

probation was held on September 2, 2011, before U. S. District Judge Barbara B. Crabb.

The government appeared by Assistant U. S. Attorney Daniel J. Graber. Defendant was

present in person and by counsel, Dennis Sieg. Also present was Senior U. S. Probation

Officer Helen Healy Raatz.

       From the record I make the following findings of fact.




                                           FACTS

       Defendant was sentenced in the Western District of Wisconsin on January 7, 2009,

following his conviction for conspiracy to make, utter and possess counterfeited securities

of an organization with intent to deceive, in violation of 18 U.S.C. § 513(a), all in violation

of 18 U.S.C. §§ 371 and 2. This offense is a Class D felony. Defendant was ordered to serve

three years' probation.

       On June 7, 2011, defendant violated the mandatory condition prohibiting him from
        Case: 3:08-cr-00123-bbc Document #: 93 Filed: 09/06/11 Page 2 of 4




committing any new federal, state or local crimes and Standard Condition No. 1, prohibiting

him from traveling outside the district, when he traveled to the Eastern District of Wisconsin

without permission, and violated City of Brookfield Ordinance 9.04.010 (fraud), by

obtaining $49.50 worth of gasoline and leaving before paying. Defendant violated Standard

Condition No. 9 prohibiting him from associating with any person convicted of a felony

without permission, when he had repeated and ongoing contact without permission with

felon Amanda Ferch between September 2010 and July 22, 2011. On July 22, 2011,

defendant violated Standard Condition No. 3, requiring him to report to the probation

officer as directed, when he failed to contact the probation office. On July 14, 2011,

defendant violated Special Condition No. 7, requiring him to participate in substance abuse

treatment, when he failed to show up for a scheduled substance abuse counseling session.

Defendant violated Special Condition No. 8, requiring him to participate in mental health

counseling and follow the recommendations of his mental health provider, when he revoked

authorization to release information from his mental health provider to the probation office,

and when he failed to follow his mental health provider's recommendation to participate in

a transition housing program.

       Defendant's most serious conduct falls into the category of a Grade C violation.

Section 7B1.3(a)(2) of the advisory guidelines provides that the court may revoke probation

or (B) extend the term of probation, modify the conditions of supervision upon the finding

of a Grade C violation or both extend probation and modify the conditions.




                                              2
        Case: 3:08-cr-00123-bbc Document #: 93 Filed: 09/06/11 Page 3 of 4




                                    CONCLUSIONS

       Defendant's violations warrant revocation. Defendant's criminal history category is

I. With a Grade C violation, he has an advisory guideline range of imprisonment of 3 to 9

months. Defendant's original offense was a Class D felony. Because he received a probation

sentence, the statutory maximum imprisonment sentence defendant may receive if probation

is revoked is five years.

       After reviewing the non-binding policy statements of Chapter 7 of the Sentencing

Guidelines, I have selected a sentence at the middle of the guideline range. A six-month

custody sentence is necessary to serve as a deterrent to defendant and protect the

community.

                                         ORDER

       IT IS ORDERED that the period of probation imposed on defendant on January 7,

2009, is REVOKED and defendant is committed to the custody of the Bureau of Prisons for

a term of 6 months with a 36-month term of supervised release to follow.        With the

exception of Special Condition No. 1, all standard and special conditions of probation

previously imposed shall remain in effect.




                                             3
       Case: 3:08-cr-00123-bbc Document #: 93 Filed: 09/06/11 Page 4 of 4




       Defendant does not have the financial means or earning capacity to pay the cost of

incarceration.

       Entered this 6th day of September 2011.

                                  BY THE COURT:
                                  /s/
                                  BARBARA B. CRABB
                                  District Judge




                                           4
